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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                                         )
 In re:                                                  )   Chapter 11
                                                         )
 YELLOW CORPORATION, et al.,                             )   Case No. 23-11069 (CTG)
                                                         )
                             Debtors.                   )    (Jointly Administered)
                                                         )

             DECLARATION OF STATUS AS A SUBSTANTIAL SHAREHOLDER

          PLEASE TAKE NOTICE that the undersigned party is/has become a Substantial

Shareholder with respect to the existing classes (or series) of common stock or any Beneficial

Ownership therein (any such record or Beneficial Ownership of common stock, collectively, the

“Common Stock”) of Yellow Corporation (“Yellow”).            Yellow is a debtor and debtor in

possession in Case No. 23-11069 (CTG) pending in the United States Bankruptcy Court for the

District of Delaware (the “Court”).

          PLEASE TAKE FURTHER NOTICE that, as of January 12, 2023, the undersigned

party currently has Beneficial Ownership of            shares of Common Stock. The following

table sets forth the date(s) on which the undersigned party acquired Beneficial Ownership of such

Common Stock:

          Number of Shares               Date Acquired                  Debtor Entity
                                                                 Yellow Corp.

                                                                 Yellow Corp.

                                                                 Yellow Corp.

                                                                 Yellow Corp.

                                                                 Yellow Corp.

                                                                 Yellow Corp.
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                                                                   Yellow Corp.

                                                                   Yellow Corp.

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                                                                   Yellow Corp.

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                                                                   Yellow Corp.

                                                                   Yellow Corp.

                                                                   Yellow Corp.


       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Final Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of Common Stock and

(II) Granting Related Relief Docket            Nos. 4, 175 (the “Final Order”), this declaration

(this “Declaration”) is being filed with the Court and served upon the Declaration Notice Parties

(as defined in the Final Order).

       PLEASE TAKE FURTHER NOTICE that, at the election of the Substantial

Shareholder, the Declaration to be filed with this Court (but not the Declaration that is served upon
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 the Declaration Notice Parties) may be redacted to exclude the Substantial Shareholder’s taxpayer

 identification number and the amount of Common Stock that the Substantial Shareholder

 beneficially owns.

        PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under penalties

 of perjury, the undersigned party hereby declares that he or she has examined this Declaration

 and accompanying attachments (if any), and, to the best of his or her knowledge and belief, this

 Declaration and any attachments hereto are true, correct, and complete.


                                                     Respectfully submitted,

                                                     CONVERSANT OPPORTUNITY MASTER
                                                     FUND LP

                                                     By: Conversant GP Holdings LLC

                                                     By: _/s/ Paul Dumaine___________
                                                     Name: Paul Dumaine
                                                     Title: General Counsel
                                                     Address: 25 DeForest Ave., 3rd Floor
                                                               Summit, NJ 07901
                                                     Telephone: (908) 466-5050

Dated: January 12, 2024
Summit, NJ
